Case 1:16-cv-03088-ELR   Document 395-125   Filed 10/21/23   Page 1 of 28




               EXHIBIT 91
          Case 1:16-cv-03088-ELR              Document 395-125             Filed 10/21/23         Page 2 of 28
                                                                                                                    PLAINTIFFS
                                                                                                                      EXHIBIT
Message                                                                                                       I
From:        Vickie Cleveland [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
             (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1499044685E34A2AB66381C621A8E416-VICKIE CLEV]
Sent:        4/24/2020 4:18:04 PM
To:          Shaun Owen [/o=ExchangeLabs/ou=Exchange Administrative Group
             (FYDIBOHF23SPDLT)/cn=Recipients/cn=f149da819b3d4fcea346f9249fb0c55e-Sonia Owen]; Zelphine SmithDixon
             [/o=ExchangeLabs/ou=Exchange Administrative Group
             (FYDIBOHF23SPDLT)/cn=Recipients/cn=ffd8dcf803db420f8d7529093ed93d79-Zelphine Sm]
CC:          Vickie Cleveland [/o=ExchangeLabs/ou=Exchange Administrative Group
             (FYDIBOHF23SPDLT)/cn=Recipients/cn=1499044685e34a2ab66381c621a8e416-Vickie Clev]
Subject:     Documents for meeting tomorrow
Attachments: Assurances FY20 GNETS from RESA Fiscal Agent.pdf; Assurances FY20 from LEA Fiscal Agent.pdf; GNETS Funding 4-
             29-2020.pptx; Copy of HBO FY19 GNETS Formula Spreadsheet.xlsx


Greetings,
See the attached documents that we will discuss at our meeting today. Looking forward to the collaboration.
Thanks


Vickie D. Cleveland, Ed.S
Program Manager
GNETS
Georgia Department of Education
Special Education Services and Supports
205 Jesse Hill Jr. Drive, SE
1862 Twin Towers East
Atlanta, GA 30334
(404) 651-5390 Office
(470) 316-8664 Cell
(770) 344-4482 Fax
vcleveland@doe.k12.ga.us


"Educating Georgia'sFuture"
Connect with GaDOE: Facebook I Twitter I Instagram i State School Superintendent




                                                                                                                  GA00054562
i   t
             Case 1:16-cv-03088-ELR                    Document 395-125          Filed 10/21/23         Page 3 of 28

         i
        II                               FY20 RESA Fiscal Agent Assurances
         i
        IL                        GNETS
                                   .... Program    _       ....                                                 ......   ....

             Comes now, the                                                   Regional Educational Services Agency
             (hereinafter "RESA"), designated fiscal agent by its member Local Education Agencies (hereinafter "LEAs")
             for the                                        Georgia Network for Educational and Therapeutic Support
             Program (hereinafter "GNETS Program"). We agree to operate the program in accordance with Georgia
             Department of Education Rules 160-4-7-.15 and 160-5-1-.35, O.C.G.A. §§ 20-2-152, 20-2-240, 20-2-270,
             20-2-270.1, 20-2-272, 20-2-274, and Individuals with Disabilities Education Act and to abide by the following
             specific assurances regarding the operation of the GNETS program:

                 1   As to the students that require services from a GNETS Program by the LEA, the GNETS Program
                     will coordinate with the participating LEAs to comply with the Georgia Special Education and
                     General Education Assurances.

                 2. As to the students that require services from a GNETS Program by the LEA, the GNETS Program
                    will coordinate with the participating LEAs to maintain compliance with all Georgia Rules for Special
                    Education including attendance at Individualized Education Program meetings and educating
                    students in the Least Restrictive Environment.

                 3. As to the students that require services from a GNETS program by the LEA, and the GNETS
                    Program will coordinate with the participating LEAs to ensure the provision of textbooks, Common
                    Core Georgia Performance Standards curriculum materials and resources, technology and its
                    support, and state and local testing materials. Anything provided through the use of Quality Basic
                    Education funds will be the responsibility of the LEAs.

                 4. The GNETS Program will ensure that restraint is used pursuant to the rules and guidelines of the
                    Georgia Department of Education Rule (hereinafter "GaDOE") that govern the use of restraint. The
                    GNETS Program will have available for review by the GaDOE the most current version of its written
                    procedures for the use of restraint.

                 5. The GNETS Program will coordinate with the participating LEAs to ensure that facilities will be
                    provided and maintained. Each facility shall be covered by a Safe School Plan (hereinafter "SSP").
                    GNETS Programs located within another public school facility will be covered by that facility's SSP.
                    GNETS Programs located in facilities not housing another public school will have a SPP available
                    for review by the GaDOE. GaDOE staff will assist in the development of this plan if needed.

                 6. The RESA will ensure that all employees of the GNETS program or any person with unsupervised
                    access to students are fingerprinted as required by O.C.G.A. § 20-2-211(e).

                 7. The GNETS Program will ensure that funds will be budgeted and utilized according to state and
                    federal accounting procedures. Funds will not be spent for any purpose not included in the
                    approved FY20 GNETS budget.

                 8. The GNETS Program budget amendments will be submitted when expenditures in a function
                    category exceed 125% of the approved amount.

                 9. Prior to expending state or federal GNETS grant funds to purchase any equipment that (1) has a
                    useful life of two or more years and (2) would be purchased with $1,000 or more of state grant
                    funds or $5,000 or more in federal grant funds, the GNETS Program shall submit a purchase
                    request to GaDOE for approval.

                 10. The GNETS Program may request to carry-over up to 25% of federal funds. Such request shall be
                     approved by the GaDOE.

                 11. RESA shall maintain written procedures governing the purchasing of goods and services when
                     using state and federal GNETS grant funds. Such procedures shall include a competitive pricing



             FY20 GNETS RESA Fiscal Agent Assurances                                                            Page 1 of 2




                                                                                                                            GA00054563
I   .   ►         Case 1:16-cv-03088-ELR                    Document 395-125           Filed 10/21/23         Page 4 of 28


            ::i                             FY20 RESA Fiscal Agent Assurances
             I                        GNETS Program
                          requirement for any equipment costing $1,000 or more if the purchase is from state funds or $5,000
                          or more if the purchase is from federal funds, if the equipment has a useful life of two years or
                          more.

                      12. The Executive Director of the RESA will be subject to all of the requirements and limitations placed
                          upon the Board of Control members as stated in O.C.G.A. § 20-2-505.

                      13. The GNETS Program shall not knowingly employ, contract with or make payment to an employee
                          of the GaDOE or a family member of an employee of the GaDOE. For purposes of this provision,
                          "family member of an employee shall mean a GaDOE employee's father, mother, son, daughter,
                          brother, sister, uncle, aunt, first cousin, nephew, niece, husband, wife, father-in-law, mother-in-law,
                          son-in-law, daughter-in-law, brother-in-law, sister-in-law, stepfather, stepmother, stepson,
                          stepdaughter, stepbrother, stepsister, half-brother, half-sister, spouse of an in-law, or a member of
                          the employee's household. This provision shall not be applicable to employees hired before
                          September 1, 2008. Notwithstanding the foregoing, the GNETS Program may employ, contract or
                          make payment to an employee or family member of an employee of the GaDOE upon receipt of
                          prior written approval from the GaDOE's Human Resources office and the State Superintendent of
                          Schools or his designee. No employee assigned to the GNETS Program shall supervise or be
                          supervised by his or her family member.

                      14. The RESA shall not pay out of state or federal GNETS grant funds to another GNETS program
                          director or full-time staff member for consulting services, including but not limited to professional
                          learning and technical assistance services, unless the GaDOE previously approved in writing the
                          employee's request to perform such consulting services.

                      15. The RESA shall maintain written procedures governing the employment of family members of
                          RESA employees and have available for review by the GaDOE. This procedure shall include a
                          provision allowing for its waiver by vote of the Board of Control.

                      16. The GaDOE reserves the right to withhold GNETS funding if the RESA fails to provide, by request
                          in a timely manner to the GaDOE, the written procedures it is required to develop in Paragraphs 4,
                          5, 11, and 15. The GaDOE reserves the right to withhold GNETS funding if the RESA fails to
                          provide to document any subsequent amendments made to the aforementioned written
                          procedures.

                      17. All employees assigned to the GNETS program or those paid by grant funds will comply with the
                          Georgia Professional Standards Commission's Code of Ethics for Educators.

                      18. Pursuant to Georgia Rule 160-4-8-.04, the GNETS Program shall have Written Procedures for
                          Reporting Suspected Child Abuse or Mistreatment and all staff will be trained in reporting
                          procedures. Such procedures will be on file and available for review at the request of GaDOE.



                  Signature                                                                      Date
                  Chair, RESA Board of Control



                  Signature,                                                                      Date
                  RESA Executive Director



                  Signature, GNETS Director                                                       Date




                  FY20 GNETS RESA Fiscal Agent Assurances                                                             Page 2 of 2




                                                                                                                               GA00054564
%
        Case 1:16-cv-03088-ELR                   Document 395-125         Filed 10/21/23         Page 5 of 28


    i                                FY20 LEA Fiscal Agent Assurances
    I
    ,
                                  GNETS Program:


        Comes now,                                          , Superintendent of                         School
        District, as the designated fiscal agent for the                                                Georgia
        Network for Educational and Therapeutic Support (GNETS) Program. I agree to operate the program in
        accordance with Georgia Department of Education Rules 160-4-7-.15 and 160- 5-1-.35, O.C.G.A. §§ 20-2-
        152, 20-2-240, 20-2-270, 20-2-270.1, 20-2-272, 20-2-274, and Individuals with Disabilities Education Act
        and to abide by the following specific assurances regarding the operation of the GNETS program:

        1. As to the students that require services from a GNETS Program by the participating local education
           agencies (hereinafter "LEAs"), the GNETS Program will coordinate with the participating LEAs to
           comply with the Georgia Special Education and General Education Assurances.

        2. As to the students that require services from a GNETS Program, the GNETS Program will coordinate
           with the participating LEAs to maintain compliance with all Georgia Rules for Special Education,
           including attendance at Individualized Education Program meetings and educating students in the
           Least Restrictive Environment.

        3. As to the students that require services from a GNETS Program by the participating LEAs, and the
           GNETS Program will coordinate with the participating LEAs to ensure the provision of textbooks,
           Georgia Standards of Excellence curriculum materials and resources, technology and its support, and
           state and local testing materials. Anything provided through the use of Quality Basic Education funds
           will be the responsibility of the LEAs.

        4. The GNETS Program will coordinate with the participating LEAs to ensure that facilities will be provided
           and maintained. Each facility shall be covered by a Safe School Plan (hereinafter "SSP"). GNETS
           Programs located within another public school facility will be covered by that facility's SSP. GNETS
           Programs located in facilities not housing another public school will have a SSP on file and available
           for review at the request of GaDOE. GaDOE staff will assist in the development of this plan if needed.

        5. The LEA will ensure that all employees of the GNETS Program or any person with unsupervised access
           to students are fingerprinted as required by O.C.G.A. § 20-2-211(e).

        6. The GNETS Program will ensure that funds will be budgeted and utilized according to state and federal
           accounting procedures. Funds will not be spent for any purpose not included in the approved FY20
           GNETS budget. The GNETS Program budget amendments will be submitted when expenditures in a
           function category exceed 125% of the approved amount.

        7. Prior to expending state or federal GNETS grant funds to purchase any equipment that (1) has a useful
           life of two or more years and (2) would be purchased with $1,000 or more of state grant funds or $5,000
           or more in federal grant funds, the GNETS Program shall submit a purchase request to GaDOE for
           approval.

        8. The GNETS Program may carry-over up to 25% of Federal funds annually. The GNETS Program may
           request a waiver once every three years for 100% carry-over. Such request shall be approved by the
           GaDOE.

        9. The LEA shall have available to the GaDOE a copy of its written procedures governing the purchasing
           of goods and services when using state and federal GNETS grant funds. Such procedures shall include
           a competitive pricing requirement for any equipment costing $1000 or more if the purchase is from state
           funds or $5000 or more if the purchase is from federal funds, if the equipment has a useful life of two
           years or more.

        10. The GNETS Program shall not knowingly employ, contract with or make payment to an employee of or
            a family member of an employee of the GaDOE. For purposes of this provision, "family member of an
            employee" shall mean a GaDOE employee's father, mother, son, daughter, brother, sister, uncle, aunt,

        FY20 GNETS LEA Fiscal Agent Assurances                                                           Page 1 of 2




                                                                                                                  GA00054565
r
    Case 1:16-cv-03088-ELR                   Document 395-125            Filed 10/21/23         Page 6 of 28


                                 FY20 LEA Fiscal Agent Assurances
                              GNETS Program:

        first cousin, nephew, niece, husband, wife, father-in-law, mother-in-law, son-in-law, daughter-in-law,
        brother-in-law, sister-in-law, stepfather, stepmother, stepson, stepdaughter, stepbrother, stepsister,
        half-brother, half-sister, spouse of an in-law, or a member of the employee's household. This provision
        shall not be applicable to employees hired before September 1, 2008. Notwithstanding the foregoing,
        the GNETS Program may employ, contract or make payment to an employee or family member of an
        employee of the GaDOE upon receipt of prior written approval from the GaDOE's Human Resources
        office and the State Superintendent of Schools or his designee. No employee assigned to the GNETS
        Program shall supervise or be supervised by his or her family member.

    11. The LEA shall not pay out of state or federal GNETS grant funds to another GNETS program director
        or full-time staff member for consulting services, including, but not limited to, professional learning and
        technical assistance services, unless the GaDOE previously approved in writing the employee's
        request to perform such consulting services.

    12. The LEA shall have available to the GaDOE a copy of its written procedures governing the employment
        of family members of LEA employees. This procedure shall include a provision allowing for its waiver
        by vote of the Board of Education. To the extent this procedure is created subsequent to these
        assurances, it may provide for a grandfather clause applicable to all existing employees.

    13. The GaDOE reserves the right to withhold GNETS funding if the LEA fails to maintain the written
        procedures it is required to develop in these assurances or to have available for review upon request
        of the GaDOE. The GaDOE reserves the right to withhold GNETS funding if the LEA fails to provide to
        the GaDOE any subsequent amendments made to the aforementioned written procedures.

    14. All employees assigned to the GNETS program or those paid by grant funds will comply with the
        Georgia Professional Standards Commission's Code of Ethics for Educators.

    15. Pursuant to Georgia Rule 160-4-8-.04, the GNETS Program shall have Written Procedures for
        Reporting Suspected Child Abuse or Mistreatment and all staff will be trained in reporting procedures.
        Such procedures will be on file and available for review at the request of GaDOE.




    Superintendent Signature                                                             Date



    LEA



    GNETS Program Director Signature                                                     Date




    FY20 GNETS LEA Fiscal Agent Assurances                                                               Page 2 of 2




                                                                                                                  GA00054566
Case 1:16-cv-03088-ELR   Document 395-125   Filed 10/21/23   Page 7 of 28




Document Produced in Native Format




                                                                        GA00054567
Page 8 of 28
Filed 10/21/23




                                                                        tn
                                                                        m
                                                                        rn



                                                                        ca.
                                                                        _•
                                                                        =
                                                                        =
                                                                        c
                                                                        z
Document 395-125
Case 1:16-cv-03088-ELR




                                                                                                                                      ;c.N
                                                                                                                                             ifar%
                                                                                                                                                 fiso
                                                                                                                                      3 NO



                                                                                                                                                        im
                                                                                                                                                        O
                         RichardWoods, Georgia's School Superintendent l Georgia Departmentof Educationl Educating Georgia's Future
                                                                                                                                      l00L9S179000Ve
Page 9 of 28




                                                                         0
                                                                         z




                                                                                                                              -N)
                                                                                    cn
                                                                                    m
                                                    o




                                                                                                                      CD
                                                                                    m
                                                                                    a
                                                                                    a
                                                         *




                                                                                                                        a
                                                                    0
                                                 I
Filed 10/21/23
Document 395-125




                                     l ueiD awlS                                    SD UndV3GI ieJ apad                    V3i/ suonnqpl uop lepoi
Case 1:16-cv-03088-ELR




                                                                                                                                         N I
                                                                                                                                               ! 0_2‘\
                                                                                                                                        11)


                                                                                                                                                         im
                                                                                                                                                         10
                         Richard Woods, Georgia's School Superintendent l Georgia Departmentof Education Educating Georgia's Future
                                                                                                                                       ZOOL9Gt7 9000VÐ
                                                                                                                               Case 1:16-cv-03088-ELR                 Document 395-125   Filed 10/21/23   Page 10 of 28




                                                     CA)




                                                                                                                                                              (1
                Richard Woods, Georgia's School Superintendent I Georgia Departmentof Education I Educating Georgia's Future




                                                                                                                                                    uo!l eTiodsueJi                                          o
                                                                                                                                                                                                             0




                                                                                                                                                                  (11
                                                                                                                                                     (.1)
                                                                                                                                                                                                             0
                                                                                                                                                     z

                                                                                                                                                                                                             o
                                                                                                                                                                                                             rmIK


                                                                                                                                                                                                             Cr
                                                                                                                                                                                                             C
                                                                                                                                                                                                             0
                                                                                                                                                                                                             =
                                                                                                                                                    saDAJaspal.elaH




                                                                                                                                                                                                             o

                                                                                                                                                                                                             CD
                                                                                                                                                    -n
                                                                                                                                                                                                             CD
C00L9SVS000VO




                                                                                                                                                     n)
                                                                                                                                                                                                             (1)
                                                                                0
                                                                                                                                                   (
                                                                                                                                                    (-)
                                                                                                                                                    e--h
                                                                                                                                                    (D
                                                                                                                                                    (.11




                                                                                2
                           Case 1:16-cv-03088-ELR   Document 395-125   Filed 10/21/23     Page 11 of 28




                   z
                   o
                   a
                   o
                   o
                   O-


                   o



                   O
                   O

                   c
                  'a
                   ro
                   Z
                   g
                   Z
                   et
                   o

                   C.)
                  fD
                   -t
                  0o.

                                    n                            -n


                                                                                        1.uejg ale1S
                   o
                   tD



                  co
                                    o °
                                    D
                                                                (1)           CY)
                  =                                     lD
                  o
                  m
                  c
                                    ~ —                         (1)
                                                                             %.N)
                                                                              CO
                  ri
                   or                CT                                       U1
                  =                  c                  0
                                                        %.
                                                        o
                                                                v3a



                  m
                  C
                  O
                                     0                  o                     4 6
                   O
                    G.)
                   FO
                                     =                                        w
                    o
                  41:2
                                     r-
                  O
                                     O
                  F
                   rmo
                      co

                                     -n
POO L9SbS000`dJ




                  _

                              /      (1)
                                     rD
                  e          ~/
                                     (/)
                        O
                        M
                                                                                                                                 Case 1:16-cv-03088-ELR                                                                                   Document 395-125                                                                                              Filed 10/21/23                Page 12 of 28



                  Richard Woods, Georgia's School Superintendent l Georgia Departmentof Education l Educating Georgia's Future




                                                                                                                                                                                                                                              1                                                               11 '                                      I                                ^
                                                                                                                                                                                                                                                                                                                                                                                             .1
                                                                                                                                                                                                                                                                                                                                                                                                  y
                                                                                                                                                                                                                                                                                                                                                                                                      -




                                                                                                                                                                                               uo pas.] keies i onniatins,
                                                                                                                                        i
                                                                                                                                                                     g -                                                              a
                                                                                                                                                                                                                                       s
                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                       i      I              i                                                i                                                              I ,°.•
                                                                                                                                                                   aleiI uesnsseaOllellS
                                                                                                                                                                                                                             E 1      i       i                                                                                                         3
                                                                                                                                        moral 'ad96LOV6I 5 s!OE




                                                                                                                                                                                                                                                                                                                    i fi 3
                                                                                                                                                                                                                                       a                                                                                                                a
                                                                                                                                                                                                                               i                                                                                                                                         S       13
                                                                                                                                                                                                                             f                                                                                                                                                                    —
                                                                                                                                                                                                                             s-   8   I       1                                                                                                         I                1 1 1 1a        1 ;
                                                                                                                                                                                           s                                      l   1                          s
                                                                                                                                                                                                                                              f             ₹
                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                              (                                                                                                                     ••
                                                                                                                                                                                                                             §
                                                                                                                                                                                                en.,




                                                                                                                                                                  i 1                                                                 k
                                                                                                                                                                                                                                  i




                                                                                                                                                                                                 Ei




                                                                                                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                   Varies(basedonsalary inteeeeesandcA anyesin fringerates]




                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                                                                                                                                                  g g        '8 a'
                                                                                                                                                                                                                                      Tr
                                                                                                                                                                                                                                      I                                                                       i i I
                                                                                                                                                                                                                                                                                                              o 2 3
                                                                                                                                                                                                                                      3
                                                                                                                                                                                                                                                                                                                       s
                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                      S
                                                                                                                                                                                                                                                                                                              r, :.•   3
                                                                                                                                                                                                                                                                                                              •      2 a
                                                                                                                                                                                                                                      E                                                                             -T g

                                                                                                                                                                                                                                      i                                                                             i

                                                                                                                                                                                                                                                                                                              ej_             2
                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                                                        (inquiassy ieiauao ilq nano.,




                                                                                                                                                                                                                                      3.


                                                                                                                                                                                                                                      3



                                                                                                                                                                                                                                      I
SOO L9SVS000V Ð




                       •                                                                                                            ,



                  4\    0
                  1 gij \
                                                                                                         M
                                                                                                             0
                                                                                                                                                                                                                                                                                                                                                                                        &
                                                                                                                                                                                                                                              8                                                                                                               s
                                                                                                                             Case 1:16-cv-03088-ELR                                  Document 395-125                                           Filed 10/21/23                              Page 13 of 28




                                              rn
                 RichardWoods, Georgia's School Superintendent Georgia Departmentof Education l Educating Georgia's Future




                                                                                                                                                                                                                         7J -17
                                                                                                                                                                                                                            -<
                                                                                                                                                                                                                                            N
                                                                                                                                                                                                                         a (41
                                                                                                                                                                                                                         0
                                                                                                                                                                                                                           (. .
                                                                                                                                                                                                                                            0

                                                                                                                                                                                                                         ra) c
                                                                                                                                                                                                                         o                  0-
                                                                                                                                                                                                                         c                  (Do
                                                                                                                                                                                                                         D
                                                                                                                                                                                                                         t-l-
                                                                                                                                                                                                                                            =
                                                                                                                                 UJ          ,-,   I-,                I--,          NJ          I-.         r...   1--   UJ    I-,   l-,           l-,   NJ NJ              NJ     I-,   A
                                                                                                                                                                                                                                                                                                 n
                                                                                                                                                                                                                                                                                                 o
                                                                                                                                 V    Ln                  A     A            00     O LO              00                                    O*,                        LO
                                                                                                                                 co   Ln     l-
                                                                                                                                             4,
                                                                                                                                                   01
                                                                                                                                                   ,-,    cr,   O
                                                                                                                                                                      ID
                                                                                                                                                                      UJ     x,     01 cr,
                                                                                                                                                                                                O
                                                                                                                                                                                                LW    o     CI
                                                                                                                                                                                                            ll ,
                                                                                                                                                                                                                   I-I
                                                                                                                                                                                                                   V
                                                                                                                                                                                                                         LO
                                                                                                                                                                                                                         NJ
                                                                                                                                                                                                                               Lri
                                                                                                                                                                                                                               Lf1
                                                                                                                                                                                                                                     O
                                                                                                                                                                                                                                     A      o      LO
                                                                                                                                                                                                                                                   LO
                                                                                                                                                                                                                                                         O A.
                                                                                                                                                                                                                                                         01 A          to   I--,
                                                                                                                                                                                                                                                                            1.0
                                                                                                                                                                                                                                                                                    U./ I-,
                                                                                                                                                                                                                                                                                   O1 LIJ
                                                                                                                                                                                                                                                                                                 o
                                                                                                                                                                                                                                                                                                 =
                                                                                                                                 V
                                                                                                                                                                                                                                                                                                                  I
                                                                                                                                 UJ          N-,   I-,                NJ     I--,   N-,                     NJ     I—,   CU I—, I—.                              NJ
                                                                                                                                                                                                                                                                                                 n
                                                                                                                                 LO   LI1    l-,   01     01 V        V      O      00    LO LO       LID   VI     UJ    01 01 l-,          LO NJ,       NJ            00   rs.)
                                                                                                                                                                                                                                                                            I-,
                                                                                                                                                                                                                                                                                   •—,.
                                                                                                                                                                                                                                                                                    A
                                                                                                                                                                                                                                                                                          A
                                                                                                                                                                                                                                                                                          U1
                                                                                                                                                                                                                                                                                                  O
                                                                                                                                 UD   --,/   Ul    V      O O         Ln     Lk,    co    01 V        O     al     Ln    al c;:n O.         01 I-
                                                                                                                                                                                                                                               -Li       r
                                                                                                                                                                                                                                                          O      C11
                                                                                                                                                                                                                                                                 I-•   00          03     A
                                                                                                                                                                                                                                                                                                  C
                                                                                                                                 CO                                                                                                                                         00                    O
                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                A                                                                                                                                                                 ("1
                                                                                                                                IV       I--,
                                                                                                                                      01 NJ         N.    A.    I-.   NJ     LO     N.    I-,   UD l-,       r...) i-,    A    l-,    l-,   IJ,    NJ    r...J   w     ID   r-p    r      A,      0
                                                                                                                                vl                 ID     Ul    I-I   (..0   CO     V     O        O
                                                                                                                                                                                                01 Lco      01 li,        O    A     NJ     I:71   NJ    L4J     IV    vl   NJ     V      00      c
                                                                                                                                ID    O vl         LO           O     A             CO    Ln                Lk., c:n     00    Lo    o             vl    C71     CU         LO     A      O       =
                                                                                                                                                                                                                                                                                                  •-•
                                                                                                                                                                                                                                                                                                                  i


                                                                                                                                                                                                                                                                                          NJ                          m
                                                                                                                                 03   NJ     U1    CO     NJ    NJ                  O                 A            lfl   LID   V     U1     co     O     O       NJ                       O       O                   orz
                                                                                                                                 A
                                                                                                                                      Co     V            UJ    O     V      V            CO    NJ    O     UJ     tD    CP    CO    NJ     O      O     U.,     NJ    O    O      03     V       *
                                                                                                                                                                                                                                                                                                                  P-•
                                                                                                                                                                                                                                                                                                                  co =-
                                                                                                                                                                                                                                                                                                                      CL


                                                                                                                                                                                                                                                                                                                     *
                                                                                                                                 O    I-,
                                                                                                                                      43.
                                                                                                                                              NJ
                                                                                                                                             ID
                                                                                                                                                   A
                                                                                                                                                   N
                                                                                                                                                          l-,
                                                                                                                                                          U,
                                                                                                                                                                 r
                                                                                                                                                                CO
                                                                                                                                                                      al
                                                                                                                                                                      LD
                                                                                                                                                                             NJ
                                                                                                                                                                             01
                                                                                                                                                                                    A
                                                                                                                                                                                    V
                                                                                                                                                                                          NJ
                                                                                                                                                                                          A
                                                                                                                                                                                                NJ
                                                                                                                                                                                                A
                                                                                                                                                                                                      NJ
                                                                                                                                                                                                      U.
                                                                                                                                                                                                            01 U./       LO
                                                                                                                                                                                                                         NJ
                                                                                                                                                                                                                               A.
                                                                                                                                                                                                                               NJ
                                                                                                                                                                                                                                     NJ
                                                                                                                                                                                                                                     kr,
                                                                                                                                                                                                                                            I-,
                                                                                                                                                                                                                                            .O.
                                                                                                                                                                                                                                                   L/I   Ut      01 NJ
                                                                                                                                                                                                                                                                 U1 NJ
                                                                                                                                                                                                                                                                            L.0
                                                                                                                                                                                                                                                                            Ln
                                                                                                                                                                                                                                                                                                                     g
                                                                                                                                 O                                                                          A A                                    A     O                                41.
                                                                                                                                 O                                                                                                                                                                *               co 0—
                                                                                                                                                                                                                                                                                                                     O_

                                                                                                                                                                                                                                                                                                                     *
                                                                                                                                 O    r
                                                                                                                                      IP
                                                                                                                                             W
                                                                                                                                             NJ
                                                                                                                                                   U1 r
                                                                                                                                                   O I-,
                                                                                                                                                                NJ
                                                                                                                                                                CO
                                                                                                                                                                      U1     NJ
                                                                                                                                                                             LO
                                                                                                                                                                                    A
                                                                                                                                                                                    U1
                                                                                                                                                                                          NJ NJ
                                                                                                                                                                                          01 A.
                                                                                                                                                                                                      NJ
                                                                                                                                                                                                      V
                                                                                                                                                                                                            01 LU
                                                                                                                                                                                                            01 LO        O
                                                                                                                                                                                                                               lu
                                                                                                                                                                                                                                V
                                                                                                                                                                                                                                     U.)    l—,
                                                                                                                                                                                                                                            A
                                                                                                                                                                                                                                                   U1
                                                                                                                                                                                                                                                   V
                                                                                                                                                                                                                                                         U1
                                                                                                                                                                                                                                                         LD
                                                                                                                                                                                                                                                                 00
                                                                                                                                                                                                                                                                 l-,
                                                                                                                                                                                                                                                                       NJ
                                                                                                                                                                                                                                                                        A
                                                                                                                                                                                                                                                                            Ln
                                                                                                                                                                                                                                                                            V
                                                                                                                                                                                                                                                                                   A
                                                                                                                                                                                                                                                                                   A
                                                                                                                                                                                                                                                                                                 N)
                                                                                                                                                                                                                                                                                                 l./1             -4 ET2
                                                                                                                                                                                                                                                                                                                     0,,
                                                                                                                                                                                                                                     O                                                    O
                                                                                                                                 O                                                                                                                                                               *
                                                                                                                                                                                                                                                                                                                      to
                                                                                                                                                                                                                                                                                                                      c_




                                                                                                                                                                                                                                                                                                        1
                                                                                                                                                                                                                                                                                                l unop l uapnls
900L9gt,9000VO




                                                                                                                                      LO     l-,          A     CT           LO                                                             tri    NJ    NJ      NJ                l-,     A
                                                                                                                                O1           l-,                             NJ     lD    CO    O           01 LAJ       LO    L0    l-,    CO     I-.   I-,      at        NJ     41.    43.
                                                                                                                                ln           00    6../               .P.           .41         O     o     NJ           O     CI                  l-,    NJ     CO                LO     O
                                                                                                                                 Case 1:16-cv-03088-ELR    Document 395-125   Filed 10/21/23   Page 14 of 28



                  Richard Woods, Georgia's School Superintendent l Georgia Departmentof Education l Educating Georgia's Future




                                                                                                                                            n         po -a           —I      0.
                                                                                                                                                      CU     CU       a)
                                                                                                                                            CO
                                                                                                                                            V)        -.
                                                                                                                                                      r+     -5
                                                                                                                                                             CU
                                                                                                                                                                      il.)
                                                                                                                                                                      (-)     CD               z
                                                                                                                                            (I)       O -O            n-      n                m
                                                                                                                                            C730
                                                                                                                                            O
                                                                                                                                                       *
                                                                                                                                                          * 3         rD
                                                                                                                                                                      -N      -
                                                                                                                                                                              e-P

                                                                                                                                                                               Z
                                                                                                                                                                                               cn
                                                                                                                                            3                m       -a       v)
                                                                                                                                                                              rf
                                                                                                                                            (../)
                                                                                                                                                             Cf)
                                                                                                                                                             V).
                                                                                                                                                                      CD
                                                                                                                                                                              '1               m
                                                                                                                                            C                O       V)
                                                                                                                                                                              C
                                                                                                                                                                              n                a
                                                                                                                                           -a                =       (-I-     e-le
                                                                                                                                                                                 ,             m
                                                                                                                                            —O
                                                                                                                                           ...<
                                                                                                                                                             CU
                                                                                                                                                                      O_
                                                                                                                                                                              O                a
                                                                                                                                                                     cp       M
                                                                                                                                           -a
                                                                                                                                                            7:3
                                                                                                                                                             rD      n                         =
                                                                                                                                                                     (-i-     13
                                                                                                                                            m                -3               M
                                                                                                                                            -1               v)       70      "I
                                                                                                                                            CA
                                                                                                                                            r-+
                                                                                                                                                             ri-
                                                                                                                                                             C
                                                                                                                                                                     ED
                                                                                                                                                                     r-t-•
                                                                                                                                                                              (It              CO
                                                                                                                                                                              rim
                                                                                                                                            C                O_      O        C                CD
                                                                                                                                            O_               CD       *       C2.
                                                                                                                                            CD               M                M
                                                                                                                                            =                (-I-             Z                X
                                                                                                                                            r-t-                              rim              0
                                                                                                                                                                                               C
                                                                                                                                                             •   •    •   •


                                                                                                                                            -(.n-            .CY)                              X
                                                                                                                                                                     Ln
                                                                                                                                             00                                                ria
                                                                                                                                                                                               _•
                                                                                                                                             00
                                                                                                                                                                                               0
LOOL9gt7 g000VÐ




                  I                                                                                                                 0
                                                                                                                                            .00                                                cn
                                                                                                                 W*,
                                                                                                            O
                                                                                                                               Case 1:16-cv-03088-ELR                                                                   Document 395-125                                Filed 10/21/23                            Page 15 of 28




                                                    CO
                 RichardWoods, Georgia's School Superintendent I Georgia Departmentof Education I Educating Georgia's Future




                                                                                                                                                                                                     ***** l uapnls
                                                                                                                                                                                                                      >
                                                                                                                                                                  l uapnls Jad Aiddns Bu!l eJ a dO




                                                                                                                                                                                                                                                                               l uaprils i ad v oddris p a.i!pu
                                                                                                                                        cu
                                                                                                                                        (-)
                                                                                                                                                                                                                      a_ no                                            c
                                                                                                                                                                                                                      3. _• n=                                         CD
                                                                                                                                                                                                                                                                                                                     Z
                                                                                                                                    it y Maintenanceper student


                                                                                                                                                                                                                      n      o
                                                                                                                                                                                                                                                                                                                     m

                                                                                                                                                                                                                              *** * l uapnls .1@cl Jaw/ NA
                                                                                                                                                                                                                      (.7).
                                                                                                                                                                                                                                                             o
                                                                                                                                                                                                                                                                       o
                                                                                                                                                                                                                      r-+
                                                                                                                                                                                                                      <                                                CD
                                                                                                                                                                                                                                                                                                                     CI)
                                                                                                                                                                                                                      rD
                                                                                                                                                                                                                                                             m         -s                                            m
                                                                                                                                                                                                                      >                                                (1)
                                                                                                                                                                                                                                                                                                                     a
                                                                                                                                                                                                                      (1)
                                                                                                                                                                                                                      (r)
                                                                                                                                                                                                                                                             C
                                                                                                                                                                                                                                                                       C

                                                                                                                                                                                                                                                                       CD
                                                                                                                                                                                                                                                                                                                     =
                                                                                                                                                                                                                      C1)
                                                                                                                                                                                                                       n
                                                                                                                                                                                                                       t-p
                                                                                                                                                                                                                                                             (1)
                                                                                                                                                                                                                                                             =
                                                                                                                                                                                                                                                                       M
                                                                                                                                                                                                                                                                       t-t-
                                                                                                                                                                                                                                                                           *
                                                                                                                                                                                                                                                                           *
                                                                                                                                                                                                                                                                                                                     =
                                                                                                                                                                                                                                                                                                                    csa
                                                                                                                                                                                                                      'a                                           *
                                                                                                                                                                                                                                                                   *       *
                                                                                                                                                                                                                      rD
                                                                                                                                                                                                                                                                   *
                                                                                                                                                                                                                                                                   *                                                 CO
                                                                                                                                                                                                                                                                                                                     m
                                                                                                                                                                                                                                                                                                                     sv
                                                                                                                                                                                                                                                                                                                     0
                                                                                                                                                                                                                                                             i*k                                                     c
                                                                                                                                                                      O                                               O       O                              O          O
                                                                                                                                                                                                                                                             O
                                                                                                                                                                                                                                                                                                                     X
                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                     0
800L9gt7g000Ve




                                                                                                                                       lO
                                                                                                                                       00
                 Ia
                  .. .
                                                                                                                                        b
                                                                                                                                       O
                                                                                                  O
                                                                                                                                Case 1:16-cv-03088-ELR                  Document 395-125                Filed 10/21/23                  Page 16 of 28



                                               ca




                                                                                                                                                                                                                    .
                  RichardWoods, Georgia's school Superintendent l Georgia Departmentof Education l Educating Georgia's Future




                                                                                                                                              •           •                   •                •




                                                                                                                                                   S..1G1.1ON1lepos 9
                                                                                                                                                                          Cn            * M              O c-
                                                                                                                                                                                        O C              O O
                                                                                                                                                                          C             C D              C =
                                                                                                                                                                                                         D =
                                                                                                                                             -0                          7:3            CL O_
                                                                                                                                                                                           --                                           Nal%
                                                                                                                                             w                            CD               D             O 0                            cb 0
                                                                                                                                             o                                     .    CD n             -h O                           M. 2,)
                                                                                                                                             =                                          -h               • (1)
                                                                                                                                             o                            O             CD               O1 -O
                                                                                                                                                                                        O CT)            O --s                          0
                                                                                                                                             o                                                           f,  O
                                                                                                                                            CCD                                                          '
                                                                                                                                                                                        5
                                                                                                                                                                                        CD c
                                                                                                                                                                                            o            c
                                                                                                                                                                          CD
                                                                                                                                                                          •
                                                                                                                                                                                        6                CD        3                    0      c
                                                                                                                                                                                                         m
                                                                                                                                                                         (sJoleu!p000



                                                                                                                                                                                              E3
                                                                                                                                                                                                              Tuaprils Sl3 NJ e set.]
                                                                                                                                                                                        o                                                      z
                                                                                                                                                                                              o
                                                                                                                                                                                        = w                                             it) „9:
                                                                                                                                                                                                                                        (1) z
                                                                                                                                                                                        CCD   6                                         ~it to
                                                                                                                                                                                              =CD_•                                     C4
                                                                                                                                                                                                    •

                                                                                                                                                                                              cT)
                                                                                                                                                                                              o                                         C4 CD
                                                                                                                                                                                                                                        CD SI)
                                                                                                                                                                                               w
                                                                                                                                                                                               c                                               Ct
                                                                                                                                                                                              -o
                                                                                                                                                                                              -o                                        0
                                                                                                                                                                                               o
                                                                                                                                                                                                                                        o
600 L99179000VÐ




                  iN'k
                  IN I
                  i 0,,
                                                                                                                                                                                                                                        c
                                                                                                           O
                                                                                                                                                                                                                                        z
                                                                                                                                                                                                                                        pm*
                  i
        01, 0 L99179000V 9

                                    RichardWoods, Georgia's School Superintendent l Georgia Departmentof Education l Educating Georgia's Future




    O
i 111
                     Ii 0
           CrIFY0#
                                                                       r
                                                                                         i




                                1
                                    1
 00 'EPCS8Z"Z 9$




                                                                                                                   i




                                                     •
                                                                                                                   s
                                                                                                                           co
                                                                 VS 38 e!ftwa9 tsam




                                                                                                                   ,
 00'08L 'Zt78'Z$                                                       VS38JaauWd




                            I
  DUZZO'ZLZ'T$
                                                                   V S3s awlouatalo
 00 '908'961'1S                                                                                       aatioDol o SI3N9




                            1
                                                 I I
 01:18TI 'L 8017$
                                                                                                                                                  Case 1:16-cv-03088-ELR




                                                                                                                          z
 00 *S6CLO6 q$                                               VS38 e!liwag IseatIl JoN
  D0'6ES'S££'i$
                                                                 VS38 O tioa9 LILION




                                             •

                            1
 00'650'8t76'S$                                                          VS 380.1)44                          a ilativ 14.0N




                                                                         m
                                                                        O
                                                                             o
  CX:108£'198'i$
                                                          (letseop) vs35 p ulsta                       Aw apepv ietseo)




                 U,
           SD
                      l/A




 o
 6
                                                         Central Savannah RiverRESA




                            I
                                                                                                                                                  Document 395-125




                                                                                                                     £ i

                                                                                                         a
                                                                                                        rv
                                                                                                               >
                                                                     Aw noj SwpiedS




                            1
                                                                                                                              x




  00 'LL9'i8£'T$




 0
 0
                                                                                                                   z s K_.) .•a *




                 V,



 CO
                                                                   Aw noj aaSomnini




                 to,
                                                                                   F


                                                                 >
                                                                     .rr,
  0013IE'509 "Z$
                                                                   Aw rioj AtJ aySnoci
                                                                                                                           o




 001S0'6Zet$




                            1
  DO'Z TVTOO'ES



                                                                             ;r




                CT
                                                                              n




                ▪,
                                                                              c
                                                                             1O
                                                                              o




                O0




 b
 o
                                                                        -"
                                                                                             weAwd SUNj eal eaJII I U!ld



                                                                             n
                                                                             no


                                                                             c
                                                                             o

                                                                        47
                                                                         Z
                                                                                                                           x
                                                                                                                 5
                                                                                                                 z
                                                                                                                 rn




                                                                             cr




                                0
                                                                             0-
                                                                                                                                                  Filed 10/21/23




                                                                                                              ailaw tt l nos




                                0
                                                                         Z
                                                                             n
                                                                             c
                                                                             o




                                                                                                             Awapeav wen
                                                                                    w




  0078CIL6 '9$
                                                                             o-
                                                                                   a:
                                                                                                                                                  Page 17 of 28
                                                                                                                            Case 1:16-cv-03088-ELR                                                                                 Document 395-125                                                                                                                     Filed 10/21/23                                                             Page 18 of 28



             Richard Woods, Georgia's School Superintendent l Georgia Departmentof Education l Educating Georgia's Future




                                                                                                                                                                -                                       z                                                                                         .                                                   V *o                                       o                                      x
                                                                                                                                                                                                                                                   Aw apepv letseoj




                                                                                                                                                                                                                                                                                                                                                                                                                                                         Coastal Ga ComprehensiveAcademy
                                                                                                                                                                                                        o            f                                                                                                                                                                           a..
                                                                                                                                           i                                                            ,                                                                                         3                               £                                                              ;7
                                                                                                                                                                                                                                                                                                                                                                                                  -3'
                                                                                                                                                                ,,1;                                                                                                                 £                                                                i
                                                                                                                                                                                                                                                                                                                                                                                                                                        Z
                                                                                                                                                                            3
                                                                                                                                                                                                                                                                                     a
                                                                                                                                                                            5
                                                                                                                                 I
                                                                                                                                                                            q




                                                                                                                                          i                            I
                                                                                                                                                                                                   II          I




                                                                                                                                                                                                                                                                                                                                                                                                                              n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1




                                                                                                                                                                                                                                                                                                                                                                                                                                                         Aw noj weqseqj
                                                                                                                                                                                                                                                                                                                                                     Aw noj puowl-P!H
                                                                                                                                                                                                                                                                                                                                Aw noj sewoqi
                                                                                                                                                                                                                                             (lelseo3) VS32I Ppl syj I sJij
                                                                                                                                          VS3H ei8Joa9 I sm?,



                                                                                                                                                                           VS3u aa)loua;a10




                                                                                                                                                                                                                                                                                                                                                                                                              Awnoj qleNa0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            CO
                                                                                                                                                                                                               VS3d ei oaD quoN




                                                                                                                                                                                                                                                                                                                                                                                                                                        CI
                                                                                                                                                                                                                                                                                                                                                                        Aw noo aa2o3snvy
                                                                                                                                                                                                                                                                                                  Central Savannah RiverRESA




                                                                                                                                                                                                        2
                                                                                                                                                                                                                                                                                                                                                                                                                              71        0                                                   &
                                                                                                                                                                                                        o                                                                                                                                                                                                                     tn.                                                            a-
                                                                                                                                                                                                                                                                                                                                                                                                                             -ra        a-
                                                                                                                                                                                                                                                                                     o                                                                                                                                        n
                                                                                                                                                                                                        °^!.
                                                                                                                                                                                                                                                                                                                                                                                                                              o .2                                                          .R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                        0
                                                                                                                                                                                                                      llJ




                                                                                                                                                                                                                                                                                                                                                                                                                             Z      7
                                                                                                                                                                                                        o                                                                            7,
                                                                                                                                                                                                                                                                                     ,,,
                                                                                                                                                                                                        m
                                                                                                                                                                                                                                                                                     >
                                                                                                                                                                                                                                                                                     rq;
                                                                                                                                                                                                        Yr:                                                                           a
                                                                                                                                                                                                                                                                                     -*:,

                                                                                                                                                                       in MN IN
                                                                                                                                                                                                                                                                                                                                                                                           1i
                                                                                                                                                                                                                                        ai                                    il.-

                                                                                                                                                                                                                                                                                                                               di                                                                                                                  Mi I                                           1




                                                                                                                                                                                                                                                                                                                                                                                                                                                   II
                                                                                                                                      1111
                                                                                                                                      •




                                                                                                                                                                                                                                                                                                                                                                                                                                               11
L99VS000Ve




             i0
             ,
                                                                                                                                                                                                                                                                              1


                                                                                                                                                                                                                                                                                                                                                    1
               o                                                                                                                 lo       UJ                    W                             NJ        W                                                                                                                                       W                                          W
                                                                                                                                                                                                                                                                                                                                                                                                        D0'000'59E




                                                                                                                                                                       LAJ                         UJ          NJ                 40.   W    W                                W             NJ                                                      1.41                NJ                      UJ                           NJ     A        W     W                                       CP
                                                                                                                                                                       •-•                    a,   a,   •      al                            I-.                              I-.           cr,                                                       ▪                 a,                 f+   1-~                          a,     N        Cr,   Cr,                                     1—,
                                                                                                                                 o                                                                             un                                                                                                                                                       un                                                   tr.             (I,   VI                                      VI
                                                                                                                                 o                     ID                                                 b                             o bo §                                                                                                                                                  -0                           .6              -0    -o                                      bo
               rn                                                                                                                o
                                                                                                                                 o        8
                                                                                                                                          0
                                                                                                                                               0
                                                                                                                                               0
                                                                                                                                                 8
                                                                                                                                                 0
                                                                                                                                                     o
                                                                                                                                                     0
                                                                                                                                                        o                                               o
                                                                                                                                                                                                        o o
                                                                                                                                                                                                          o                             9 o                                                 §                                  § o § 0
                                                                                                                                                                                                                                                                                                                                     o § o                                                      o                            o
                                                                                                                                                                                                                                                                                                                                                                                                                             o                o    o                                        P
                                                                                                                                          ,--, o r-, o b
                                                                                                                                          b    b b                                                      b
                                                                                                                                                                                                        o O                       8 8 b
                                                                                                                                                                                                                                      o b
                                                                                                                                                                                                                                        o                                                   b
                                                                                                                                                                                                                                                                                            o                                  E 8 E a
                                                                                                                                                                                                                                                                                                                                     0
                                                                                                                                                                                                                                                                                                                                                                                           Q    0
                                                                                                                                                                                                                                                                                                                                                                                                0
                                                                                                                                                                                                                                                                                                                                                                                                                             O
                                                                                                                                                                                                                                                                                                                                                                                                                             o
                                                                                                                                                                                                                                                                                                                                                                                                                                              O
                                                                                                                                                                                                                                                                                                                                                                                                                                              o    b
                                                                                                                                                                                                                                                                                                                                                                                                                                                   e,                                      8
                      Case 1:16-cv-03088-ELR      Document 395-125       Filed 10/21/23   Page 19 of 28




                          1:6   .p      W     N             A
                          cri   ,       o     0      0      I mt
                          o             o     0      O      o
                                              64)    rj     o
                                                            II
                                    1         0      O
                                              0      O




                                cn      I-~
                                              W
                                              01
                                                     W
                                                     I-1
                                                            NJ
                                                            01
                                                                     >
                       ui   ui                Ui                     0
                       6 `o                   0 0 0                  n
                       o o o                  0      0      0
                       o o o                  O      0      0
                                                                     o
                                                                         •


                                                                     z
Z1.0 L9SVSOOOVS




                  •
                      Vi

                      2
                                                                                                                                  Case 1:16-cv-03088-ELR                                                   Document 395-125                                                                                            Filed 10/21/23                                                  Page 20 of 28




                                                                                                                                                                                                                                                                                                                                                                                 0                m
                                                                                                                                                                                                                                                                                                                                                                                 o
                   Richard Woods, Georgia's School Superintendent l Georgia Departmentof Education l Educating Georgia's Future




                                                                                                                                                                                                                                                                                                                                                                                 =
                                                                                                                                                                                                                                                                                                                                                                                 -~ 0
                                                                                                                                                                                                                                                                                                                                                                                 r-e-
                                                                                                                                                                                                                                                                                                                                                                                 C)




                                                                                                                                                                                                                                                                                                                                                                                 0



                                                                                                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                  (lgH) umoti.p eai/ mesS!r
                                                                                                                                                              f -DSVg/ uosJead




                                                                                                                                                                                                                                                    sapimas aJT ON




                                                                                                                                                                                                                                                                                   Georgia State Universit y/F BABIP




                                                                                                                                                                                                                                                                                                                                         Georgia State Universit y/FBABIP
                                                                                                                                                                                                 2                                                                                                                                                                                    E
                                                                                                                                                                                                 5
                                                                                                                                                        1                                        i
                                                                                                                                                                                                                                                                                                                                                                                      rl
                                                                                                                                                                                                                                                                                                                                                                                      ?"
                                                                                                                                                                                                                                                                                                                                                                                      tr,
                                                                                                                                         -                                                       ,
                                                                                                                                                                                                 o



                                                                                                                                                                                                 .
                                                                                                                                                                                                 a

                                                                                                                                                    i
                                                                                                                                                                >],                      a   c) D n                                                          Fag,
                                                                                                                                                                                                                                                  frs 2 T ,1*   4a                                                                                                                                i
                                                                                                                                                                                         a           7      Ufft                                                                                                        F,T 7D_Fi 2
                                                                                                                                                                                                                                                      1 °,1' 13                                                         a7ima .-1.r                                         -.         y    C
                                                                                                                                                                                         Cf-5 -i;*            —                                                                                   5                     "-7,- »65
                                                                                                                                                                                                                                                                         5
                                                                                                                                                                                                            !k'
                                                                                                                                                                                                              , `*;;                                                                                          =
                                                                                                                                                                                                                                                                                                                        claa—=
                                                                                                                                                                                                                                                                                                                        o       ‘
                                                                                                                                                                                                                                                                                                                                ,                                           m=2„.                 i
                                                                                                                                                                                                                                                                                                                                                                                                      5§;?,`:.
                                                                                                                                                                                                                                                                         5) .
                                                                                                                                                                                                                                                                         z   ,`;                                                                                                                           -
                                                                                                                                                                                         r.75r,               s
                                                                                                                                                                                                              -127:                                                                                                                                                                                   am.;
                                                                                                                                                            ,a.                                             D,Cri                                                                                                                                                                , ="g'
                                                                                                                                                            g .                            a:a*             u1005gW                               m,cri                                                                            7'- c.-cc;
                                                                                                                                                                                                                                                                                                                                                                                                      5g-ftl
                                                                                                                                                                                                                                                                                                                                                                            =Lam@
                                                                                                                                                                                                                                                  ,y, 5.3rv ms3                                                                                                                                   i

                                                                                                                                                                                                                                                      21
                                                                                                                                                                                                 eti
                                                                                                                                                                                                            ,i3 51                                                                                                           r. 2 -7 a                                      ‘.'".°= g'
                                                                                                                                                                                                                                                                                                                                                                            0 -
                                                                                                                                                                                                                                                                                                                                                                            z@ o -
                                                                                                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                                                                                                                                                      ,T4t1D
                                                                                                                                                                3
                                                                                                                                                                c.
                                                                                                                                                                                 >
                                                                                                                                                                                             :   0,7;       <-00                                    3
                                                                                                                                                                                                                                                    o                                                                                                                       '21     g                 %  n ^   -
                                                                                                                                                                                                   L4                                               a 7r,                    Ta                                             ° ° °— d o                                                                vg-2
                                                                                                                                                                                             -ag
                                                                                                                                                                                             mm„,                                                                            at                                                                                             -    ~o   a w
                                                                                                                                                                                                                                                                                                                                                                                                      2 a o ^7
                                                                                                                                                                                                                                                                                                                                                                                 t»01
                                                                                                                                                                                                                                                    271                                                                 *i a           '13
                                                                                                                                                                                              aaa                                                                            ie                                                                                             g'I-L.rt              i
                                                                                                                                                                                                                                                                                                                                                                                                      Ty:a. -gc7.
                                                                                                                                                                                 ;,4",                                                                                                                                                                                                      '3:
                                                                                                                                                                                             '51!             go Wrg                                                         00.                                        stwT-. ≤                                                                      n 61 M
                                                                                                                                                                                                                                                                                                                                                                            -         »     2
                                                                                                                                                                o                z                   -•                                                                                                                                                                                               2'="z4
                                                                                                                                                               CD
                                                                                                                                                                                                     rg,
                                                                                                                                                                                                              a                  -            »
                                                                                                                                                                                                                                                    P                        g;
                                                                                                                                                                                                                                                                                                                             n .g 2, r,
                                                                                                                                                                                                                                                                                                                                                                            gt.caV
                                                                                                                                                                                                                                                                                                                                                                                                      5;7a
                                                                                                                                                                g Z.                         2 ,1 -t          El»                                                                                                                    '
                                                                                                                                                                                                                                                                             t                  0
                                                                                                                                                                  z                                                                                 2•?'                     =Li                                             r6'   2                                        .. ~ — W
                                                                                                                                                                                                                                                                               !                                        °          i   o2T
                                                                                                                                                                                                                                                                                                                                                                            0,g1
                                                                                                                                                                3 '"                         0   3 m
                                                                                                                                                                O                            t   o                                                                                      .
                                                                                                                                                                                                   z-         O -A Ci                                                                   00
                                                                                                                                                                                 a                            °L                                                                                                                                                            gi
£ LO L9SbS000t/Ð




                                                                                                                                                                5                                CY<
                    •                                                                                                                                                                                              Z
                                                                                                                                                                                                                                              m
                                                                                                                                                                                                                                                                             3 o                                        '    ?ic       C,
                                                                                                                                                                                                                                                                                                                                                                            E sLai,                   '2,3z
                                                                                                                                                              Eq.                                                                                                    z                                                                                                                                  EEr6g
                                                                                                                                                                                                                                              ,                              om                                                                                                  gi
                   •                                                                                                                                                                                                                                                 a                                                             Òr a'
                   •
                                                                                                                                       ocus'sn't$




                                                                                                                                                                                                                                                                                    v,                                                  10,                                           ln
                                                                                                                                                                                                                  >                                 co                              r,
                                                                                                                                                                                                                                                                                    ,r.                                                  u,                                           o
                                                                                                                                                                                                                                                                                                                                                                                      p
                                                                                                                                                                                                                                                                                   I                                                    I
                                                                                                                                                              §                                  o
                                                                                                                                                                                                                  §                                                                o                                                    o                                             8
                                                                                                                                                                                                                                                                                                                                                                                      0
                   111
                                                                                                                                                              8                                  8                6
                                                                                                                                                                                                                  o                                 o                              6
                                                                                                                                                                                                                                                                                   0                                                    8                                             0
                                                                                                                                                                                                                                                                                                                                                                                                  1
171. 0 L9gt7S000VO


                            Richard Woods, Georgia's School Superintendent I Georgia Departmentof Education I Educating Georgia's Future




O
     ,ia
     I
                                                                   >
                                                                             r+

                                                                   M
                                                                   (11
        007ZS T9 VT$

          .




                                                                       n
                                                                           n
                                                                           =
                                                                           o
                                                                           ,-f
        00 SLS `58Z `T $
                                                                                                                                           Case 1:16-cv-03088-ELR




               b
               0
               o
                                                      suopeDmituumna al




               cr)
                            -61
                                           tn-
                                                        sa :ieqj            leau




              ©
              ©
              N.)
              t)-1
                                       tn-
                                                         sai eqj i alndwcyj




              ©
              ©
                                     F-~
                                lD
                           O1
                                                                                                                                           Document 395-125




                           0
                                                 asuadx3 2upeaado ae n2all




            O
                     U1

           0
           0
                     0
                                                          sapyuas IeuosJad




                      00
                                                                                                                                           Filed 10/21/23




     6
     o
     >

     a)

     z
     0
                                                        LIOR • W saa sseD
                                                                                                                                           Page 21 of 28
                                                                                                                             Case 1:16-cv-03088-ELR   Document 395-125                  Filed 10/21/23   Page 22 of 28




                                                                                                                                                                                               .
              Richard Woods, Georgia's School Superintendent l Georgia Departmentof Education l Educating Georgia's Future




                                                                                                                                                                                         u)- O




                                                                                                                                                                  seouanisse Lualbaid
                                                                                                                                                                                             Z
                                                                                                                                                                                              rn

                                                                                                                                                                                        -o    O
                                                                                                                                                                                              E3            0
                                                                                                                                                                                         D Z


                                                                                                                                                                                             -0
                                                                                                                                                                                                            z
                                                                                                                                                                                                .
                                                                                                                                                                                              o
                                                                                                                                                                                                            >
                                                                                                                                                                                              =             MM.

                                                                                                                                                                                                            0
                                                                                                                                                                                              m
                                                                                                                                                                                                            1:13
                                                                                                                                                                                              cf)                 •


                                                                                                                                                                                                            O
                                                                                                                                                                                              6             =
                                                                                                                                                                                              5
L9SbS000t/J




                •
                                                                                                                                ,
              I
              ?
              .
              i got•
              :-                                                                                                               ,#

                                                                                      m
                                                                                          o
                                                         Case 1:16-cv-03088-ELR                                                Document 395-125                                          Filed 10/21/23   Page 23 of 28




                               Cr)
                        nr !. I MF crvvvvu7, veur yr u




                                                                                                               •        •    •             •      •              •                    •           •




                                                                                                                            13V S31:IVO




                                                                                                                                                         6u! p uriA 38 0 S13NJ
                                                                                    0 -n c                                                I-    I-




                                                                                                                                                                                 siscoo p ax!pu
                                                                                    z rn. Cn                                              m     rn                                                C
                                                                                                                    rn                                                                            Z
                                                                                    m                         o
                                                                                                              la)   O
                                                                                                                                          >
                                                                                                                                          CA
                                                                                                                                                >
                                                                                                                                                0                                                  •
                                                                                    C/)                       fa)    a
                                                                                                                                                5                                                 =         m
                                                                                                          ca
                                                                                                              CD
                                                                                                                    1O
                                                                                                                    a
                                                                                                                                          a)
                                                                                                                                          — fa)
                                                                                                                                             —                                                              a
                                                                                   uonsanb Bumunj



                                                                                                                                                                                                  6
                                                                                                                                                                                                            m
                       ow er vr JufJerrrr errr uerr l




                                                                                                              z     CU                    o
                                                                                                                                          m c
                                                                                                              (7)
                                                                                                                    M                     -a
                                                                                                                                                                                                  c         a
                                                                                                              o     CD
                                                                                                                    •-•                   3                                                                 =
                                                                                                              z     <                     <
                                                                                                                    CD                    a:
                                                                                                                    --
                                                                                                              m
                                                                                                                                          CD
                                                                                                               cn
                                                                                                                                                v ompu



                                                                                                              -O                          M
                                                                                                                                                                                                                     -
                                                                                                              3
                                                                                                                    o                     M
                                                                                                                    o
                      UT CUUCetTIM




                                                                                                              3
                                                                                                              co                          f ;
                                                                                                                                          e
                                                                                                                                          5
                                                                                                                                          CD
                                                                                                                                          -•
                     Cauccrun g veur gr u 5 r uurre




                                                                                                                                          (/)
                                                                                                                                          c
                                                                                                                                          CD
                                                                                                                                          =                                                                 a
                                                                                                                                                                                                            3
                                                                                                                                                                                                            w
9 l O .L9S179000V9




                                             4rl
                     •




                     •                                   g   0


                                              I                  ma..•,kre.nrsx:                    ..   ••    -    -
                                                                                                                                 Case 1:16-cv-03088-ELR                                                                                                                  Document 395-125                                                                                                                                 Filed 10/21/23                                                                                                                                                  Page 24 of 28




                                                        ••••1
                    Richard Woods, Georgia's Schoo! Superintendent Georgia Departmentof Education l Educating Georgia's Future




                                                                                                                                                     •                                                                                                                        •                              •
                                                                                                                                                                                                                                                                                                                                                 •                                                                                      •                                                               •




                                                                                                                                                                                                                                                                        C O)                                                            cn                                                                             1, 3 -0 N.)


                                                                                                                                                          8 . Ensurethat GNETSservices are providedfor all local school systemswithin the GNETS servicearea .




                                                                                                                                                                                                                                                                                   5 . Reportrequested data to the SEA or the GaDO E.




                                                                                                                                                                                                                                                                                                                                                     3 . Submit financial reports as requiredby the SEAandthe GaDOE.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Ileys l ueby leos!A ayl
                                                                                                                                                                                                                                                                                                                                                                                                                                            1. Be either the respective LEA(s) and/or Regional Educational Service Agency affiliated with the GNETS Services.
                                                                                                                                        ~
                                                                                                                                        (D S        (D
                                                                                                                                                                                                                                                                                                                                        a  •                                                                           O- cri
                                                                                                                                        CU CD
                                                                                                                                           - >
                                                                                                                                        • O =
                                                                                                                                           0
                                                                                                                                                                                                                                                                a CD
                                                                                                                                                                                                                                                                  co
                                                                                                                                                                                                                                                                  o
                                                                                                                                                                                                                                                                         5 cr)
                                                                                                                                                                                                                                                                        cQ c
                                                                                                                                                                                                                                                                         o cr
                                                                                                                                                                                                                                                                           3
                                                                                                                                                                                                                                                                                                                                           K
                                                                                                                                                                                                                                                                                                                                        cD o
                                                                                                                                                                                                                                                                                                                                           =
                                                                                                                                                                                                                                                                                                                                                                                                                       - a_ 0D 0>
                                                                                                                                                                                                                                                                                                                                                                                                                             sT) -5 o
                                                                                                                                                                                                                                                                                                                                                                                                                       (7) cu c-ci 2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             z
                                                                                                                                           O
                                                                                                                                           (i)                                                                                                                          (p ~                                                            a o                                                                            ....I DV) D
                                                                                                                                           0 0                                                                                                                    5     -o cc)                                                          co
                                                                                                                                           7 - CD                                                                                                                        a) al                                                                 fl)                                                                     5 w 0 5"
                                                                                                                                           0 —
                                                                                                                                           0 CD
                                                                                                                                           —
                                                                                                                                           (.0 CD
                                                                                                                                           ci) •—•
                                                                                                                                                                                                                                                                  (7)
                                                                                                                                                                                                                                                                  0
                                                                                                                                                                                                                                                                  a      —
                                                                                                                                                                                                                                                                         _
                                                                                                                                                                                                                                                                          m
                                                                                                                                                                                                                                                                        n =
                                                                                                                                                                                                                                                                            M
                                                                                                                                                                                                                                                                         CD '-'
                                                                                                                                                                                                                                                                                                                                        5
                                                                                                                                                                                                                                                                                                                                        0
                                                                                                                                                                                                                                                                                                                                        E co
                                                                                                                                                                                                                                                                                                                                        a
                                                                                                                                                                                                                                                                                                                                        m
                                                                                                                                                                                                                                                                                                                                                                                                                       z
                                                                                                                                                                                                                                                                                                                                                                                                                       —    8
                                                                                                                                                                                                                                                                                                                                                                                                                            u)
                                                                                                                                                                                                                                                                                                                                                                                                                         a) •
                                                                                                                                                                                                                                                                                                                                                                                                                         co 3 E.
                                                                                                                                                                                                                                                                                                                                                                                                                          < FD.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             m
                                                                                                                                               *                                                                                                                  0     a_. o
                                                                                                                                                                                                                                                                            v                                                                                                                                             0 a (7)
                                                                                                                                           3 o                                                                                                                                                                                                                                                                                  0-
                                                                                                                                                                                                                                                                                                                                                                                                                            0
                                                                                                                                           *        FL
                                                                                                                                                     D                                                                                                            O
                                                                                                                                                                                                                                                                        cD —
                                                                                                                                                                                                                                                                        0 O 7
                                                                                                                                                                                                                                                                             (1)
                                                                                                                                                                                                                                                                            CU
                                                                                                                                                                                                                                                                                                                                        m
                                                                                                                                                                                                                                                                                                                                        >
                                                                                                                                                                                                                                                                                                                                                                                                                          0 Z
                                                                                                                                                                                                                                                                                                                                                                                                                          5'
                                                                                                                                                                                                                                                                                                                                                                                                                            Fri 7
                                                                                                                                                                                                                                                                                                                                                                                                                                a)                                                                                                                                                           (/)
                                                                                                                                           5 Pc:
                                                                                                                                                                                                                                                                        O
                                                                                                                                                                                                                                                                        (/) D                                                             a                                                                               o   0
                                                                                                                                                                                                                                                                                                                                          =                                                                               —
                                                                                                                                           CD
                                                                                                                                             w
                                                                                                                                           cn a"
                                                                                                                                                                                                                                                                  (70
                                                                                                                                                                                                                                                                  (/)
                                                                                                                                                                                                                                                                  -0
                                                                                                                                                                                                                                                                         3 0-
                                                                                                                                                                                                                                                                        "< 0_
                                                                                                                                                                                                                                                                                                                                        z a
                                                                                                                                                                                                                                                                                                                                        m a
                                                                                                                                                                                                                                                                                                                                        H 0
                                                                                                                                                                                                                                                                                                                                                                                                                          3 0 D
                                                                                                                                                                                                                                                                                                                                                                                                                          O o c
                                                                                                                                                                                                                                                                                                                                                                                                                          — c 7
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             CO
                                                                                                                                          3
                                                                                                                                                    E                                                                                                              CD
                                                                                                                                                                                                                                                                   0     0 - (0
                                                                                                                                                                                                                                                                             (1)                                                        a
                                                                                                                                                                                                                                                                                                                                               0                                                                          3
                                                                                                                                                                                                                                                                                                                                                                                                                              a
                                                                                                                                                                                                                                                                                                                                                                                                                          7 7 0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             0
                                                                                                                                          0 o
                                                                                                                                          ,„ =
                                                                                                                                          •-
                                                                                                                                          a; co
                                                                                                                                             "                                                                                                                    7
                                                                                                                                                                                                                                                                        c
                                                                                                                                                                                                                                                                        CD 7 -
                                                                                                                                                                                                                                                                        0_ (3
                                                                                                                                                                                                                                                                                                                                        0
                                                                                                                                                                                                                                                                                                                                        (5".
                                                                                                                                                                                                                                                                                                                                               &
                                                                                                                                                                                                                                                                                                                                                                                                                          0 -5n
                                                                                                                                                                                                                                                                                                                                                                                                                          0 = 5
                                                                                                                                                                                                                                                                                                                                                                                                                          7 7 Et.)
                                                                                                                                                                                                                                                                                                                                                                                                                          0 0 0
                                                                                                                                                                                                                                                                                                                                                                                                                          0 C 0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             tv
                                                                                                                                                                                                                                                                        o (.0
                                                                                                                                                                                                                                                                           c                                                            (7)                                                                               3 a o
                                                                                                                                           O 0                                                                                                                    5"
                                                                                                                                                 2                                                                                                                      -0                                                              fl)                                                                               5 5 a
                                                                                                                                           C1)                                                                                                                                                                                                                                                                              (c)
                                                                                                                                           71/-4                                                                                                                  cu    a 5                                                              a c                                                                                 - 7
                                                                                                                                           (D il)                                                                                                                        <                                                                                                                                                10    0-
                                                                                                                                           CD (/)                                                                                                                 3      ca 0                                                            m aa                                                                             a
                                                                                                                                                                                                                                                                                                                                                                                                                          0
                                                                                                                                                                                                                                                                                                                                                                                                                               (D
                                                                                                                                                                                                                                                                  5:     = o
                                                                                                                                           < w
                                                                                                                                           0 0
                                                                                                                                           FIT 0)
                                                                                                                                                                                                                                                                  3
                                                                                                                                                                                                                                                                  c
                                                                                                                                                                                                                                                                        cc) (7,
                                                                                                                                                                                                                                                                        N o
                                                                                                                                                                                                                                                                                                                                         O a
                                                                                                                                                                                                                                                                                                                                             7
                                                                                                                                                                                                                                                                                                                                            (/)
                                                                                                                                                                                                                                                                                                                                                                                                                          (••

                                                                                                                                                                                                                                                                                                                                                                                                                          C
                                                                                                                                                                                                                                                                                                                                                                                                                           D n *
                                                                                                                                                                                                                                                                                                                                                                                                                          a O                                                                                                                                                                X
                                                                                                                                           7 03
                                                                                                                                           O (0
                                                                                                                                                                                                                                                                  3
                                                                                                                                                                                                                                                                  0
                                                                                                                                                                                                                                                                         c —
                                                                                                                                                                                                                                                                         0    a_
                                                                                                                                                                                                                                                                             cu
                                                                                                                                                                                                                                                                                                                                         a (D
                                                                                                                                                                                                                                                                                                                                         a <
                                                                                                                                                                                                                                                                                                                                        -o cn
                                                                                                                                                                                                                                                                                                                                                                                                                          a) 3 co
                                                                                                                                                                                                                                                                                                                                                                                                                          _
                                                                                                                                                                                                                                                                                                                                                                                                                          w co co
                                                                                                                                                                                                                                                                                                                                                                                                                                 • cn
                                                                                                                                                                                                                                                                                                                                                                                                                                   z                                                                                                                                                         a
                                                                                                                                                    s)                                                                                                            5-
                                                                                                                                                                                                                                                                        u)
                                                                                                                                                                                                                                                                        CD 0_                                                           -o                                                                                co    a co
                                                                                                                                              —                                                                                                                                                                                                                                                                           —
                                                                                                                                                                                                                                                                  (7)   2 co                                                             8 •.<                                                                            '1" o _
                                                                                                                                           = —
                                                                                                                                           —                                                                                                                      a     (D --0
                                                                                                                                                                                                                                                                             C3
                                                                                                                                                                                                                                                                             —                                                                 0                                                                          5
                                                                                                                                                                                                                                                                                                                                                                                                                          co 3 0
                                                                                                                                                                                                                                                                                                                                                                                                                                   0
                                                                                                                                           n) 0                                                                                                                   —•)   cc) 3.                                                          5 z                                                                               -,., a) co
                                                                                                                                              z                                                                                                                   cc)                                                                                                                                                       . I — -o
                                                                                                                                                                                                                                                                  0     co                                                              (D
                                                                                                                                                                                                                                                                                                                                                                                                                                ' Fr;
                                                                                                                                           >M                                                                                                                                                                                                  m                                                                          CD CD a_
                                                                                                                                              ci)                                                                                                                       co an                                                           (1) Cn                                                                            M 7                                                                                                                                                                Min II
                                                                                                                                                                                                                                                                  a)    0 -
                                                                                                                                                                                                                                                                        o                                                                                                                                                 0 CD w
                                                                                                                                                                                                                                                                  a)
                                                                                                                                                                                                                                                                        0 —I                                                            5 7                                                                                    D 0
                                                                                                                                                                                                                                                                  w     c                                                                      0_                                                                              0 0
                                                                                                                                                                                                                                                                                                                                                                                                                           ~ (p o
                                                                                                                                           6 cu                                                                                                                          = (1)
                                                                                                                                           0-
                                                                                                                                           cp 3
                                                                                                                                                                                                                                                                  5      —
                                                                                                                                                                                                                                                                         5 w
                                                                                                                                                                                                                                                                                                                                               (~U
                                                                                                                                                                                                                                                                                                                                               -0                                                                          Ea) tpp c
                                                                                                                                                                                                                                                                                                                                                                                                                           z
                                                                                                                                                    (1)                                                                                                           0     co 0                                                                   o                                                                               CI 5
                                                                                                                                                    CD                                                                                                            0     -                                                                                                                                                 (O O so
                                                                                                                                          CD
                                                                                                                                          O          *.                                                                                                           Q     a —
                                                                                                                                                                                                                                                                        sa)                                                                    co
                                                                                                                                                                                                                                                                                                                                                                                                                           a -0 a)                                                                                                                                                           1:1)
                                                                                                                                                .
                                                                                                                                                    3-                                                                                                            cu     ED co
                                                                                                                                                                                                                                                                            a)                                                                 =
                                                                                                                                                                                                                                                                                                                                               —                                                                           a
                                                                                                                                                                                                                                                                  7     -0
                                                                                                                                          (D w                                                                                                                    0      , 7
                                                                                                                                                                                                                                                                           —.-                                                                 =.;                                                                         — 3 o
                                                                                                                                               0                                                                                                                  (D    0                                                                      co                                                                          O ?
                                                                                                                                          0 7-
                                                                                                                                          5 0
                                                                                                                                              O                                                                                                                   *
                                                                                                                                                                                                                                                                        0
                                                                                                                                                                                                                                                                        cn
                                                                                                                                                                                                                                                                        cn. 0
                                                                                                                                                                                                                                                                                                                                               a
                                                                                                                                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                                                                                                                                                                                                   7
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             >
                                                                                                                                          (D cn
                                                                                                                                          (1) c
                                                                                                                                          = -0
                                                                                                                                                                                                                                                                 0
                                                                                                                                                                                                                                                                 0
                                                                                                                                                                                                                                                                        5
                                                                                                                                                                                                                                                                           (.)
                                                                                                                                                                                                                                                                                                                                               n
                                                                                                                                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                                                                                                               (D
                                                                                                                                                                                                                                                                                                                                                                                                                          (:)
                                                                                                                                                                                                                                                                                                                                                                                                                          (612?:(5c:
                                                                                                                                                                                                                                                                                                                                                                                                                          CQ 0 _0
                                                                                                                                                                                                                                                                                                                                                                                                                                .'
                                                                                                                                                                                                                                                                                                                                                                                                                                  n !                                                                                                                                                       CO
                                                                                                                                          (/) (D                                                                                                                           cr)
                                                                                                                                                                                                                                                                            --                                                                                                                                             - 5' o
                                                                                                                                                                                                                                                                                                                                                                                                                           6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             CD
L L OL9gt79000\19




                                                                                                                                          C                                                                                                                             -I

                                                                                                                                          7                                                                                                                      O      a  a                                                                                                                                                    n
                                                                                                                                    •     (c)
                                                                                                                                             D
                                                                                                                                                                                                                                                                  D
                                                                                                                                                                                                                                                                 ca)
                                                                                                                                                                                                                                                                  N.)
                                                                                                                                                                                                                                                                        -o 5.
                                                                                                                                                                                                                                                                        a
                                                                                                                                                                                                                                                                         c a_
                                                                                                                                                                                                                                                                                                                                               6
                                                                                                                                                                                                                                                                                                                                                                                                                          0
                                                                                                                                                                                                                                                                                                                                                                                                                           o sl) 5
                                                                                                                                                                                                                                                                                                                                                                                                                           ci.) 3
                                                                                                                                                                                                                                                                                                                                                                                                                                     (0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             M
                                                                                                                                          0 (0                                                                                                                    c,                                                                                                                                                       Q
                                                                                                                                          - 7
                                                                                                                                          a)                                                                                                                            Eu 0                                                                                                                                                    Li)s
                                                                                                                                                                                                                                                                  r)     cn
                                                                                                                                                                                                                                                                         — 0
                                                                                                                                                                                                                                                                                                                                               (D

                                                                                                                                                                                                                                                                                                                                                                                                                          -cci
                                                                                                                                                    O                                                                                                                       0
                                                                                                                                                                                                                                                                        co O)                                                                                                                                              o (7-
                                                                                                       2                                                                                                                                                                                                                                                                                                                  -+
                           Case 1:16-cv-03088-ELR   Document 395-125   Filed 10/21/23   Page 25 of 28



                   03




                   z

                   0                                                           •
                   o                    > > ucp) 6- m. -16 rn 84 -0
                                                           a. =
                                    5 2..3D(Da)z                   a O.
                                                    •        m             =
                                                                   o                      0
                   r0
                   0
                   Q                6        --N. 3 c 5            a) -5
                                    (/' = 3 CD O -1
                     .



                                                                                          z
                   0

                   ‘ ,1
                                    0 CD_         U) 0) a) V; rt co
                                                                   a - 0
                   0
                   o

                   0
                                    0
                                    = = ct)
                                    u)
                                             = - 1-t a
                                         CD * < =     5 O
                                                            `/

                                                                   =
                                                             (Cr? CI) a 0
                                                                           o              m
                                         -n       a ci)
                   0•

                                                             ,-h           =
                                         o        5- 0 a           CU
                                                                   =    0
                   0
                                       . c 0 •-•-.
                    G")             o           . 5 -O = - O.              =
                                                                                           m
                    ro
                    o
                   cFci.            =CD(7)=0"
                                         CD CD                = ; Ini CR lam'
                   C1
                   m                     =            c O_ ri)i CD — =                     a
                                         5 77. 5 a (x
                                                                       = ?4,
                                                                   2) CO                   =
                    o                    > (15 CD .
                                         3 (1) -=‘ w E -O
                                                          1) ) '0
                                                     g 0 (T)       CD  5
                                                                           ET
                                                                          ‘<               a
                    rn
                    a.
                    c
                    n
                                         (3 > z—1. cD              c. o                    =
                                                              O. 5 0       -c13
                    o
                    =                                 =
                                         O- - = o_                     CD SU
                    0-
                    G                    3 st
                                         (I)            .
                                                  c 5 5 5' w
                                                              cp- ,Cn 0 "t                 0
                    -.
                    0
                    Q                    =        = F4- cp (CD
                                                                      Cr2. = lf
                                                                                           c
                    FC
                    0
                     15)
                                                  ci CO 3 •-i-                             CD
                                                                   Fin 5). "
                    Lci
                     —
                                         6 =() --s CD --h rT9-     CD z 3
                                                  , 6 0 -3 CP (c) M.
                     vw"
                     -71
                     c                   5
                                         el       a3- ca. 3 *
                                                                       * 5                 o
                   !/"14                D
                                         c
                                                          0 5
                                                               - '     o                   =
                                                                        R- S.
91.0 L9gt,9000VO




                   Ai I                  .                O
                   1 (3 ,‘                                CD 00              it =
                   -                     ca. =            (/) =          0      0
                               ~~
                                                          (/)                   .
                           0
                                                                                                                                Case 1:16-cv-03088-ELR    Document 395-125   Filed 10/21/23   Page 26 of 28



                                                        cD
                  RichardWoods, Georgia's School Superintendent I Georgia Departmentof Education I Educating Georgia's Future




                                                                                                                                                                                     •

                                                                                                                                                  M .1
                                                                                                                                                      -0 0. M G) O                 O
                                                                                                                                                  CO O CD  s:" Cs (1O) i-          0
                                                                                                                                                   co          I.+                 -PI
                                                                                                                                                           0 O -1                  M
                                                                                                                                                  11) ill -0 -0 (0. CD             z             0
                                                                                                                                                   O. 2 O" es
                                                                                                                                                                   cT) cn
                                                                                                                                                                   ui—o
                                                                                                                                                                               O-
                                                                                                                                                                               a)                z
                                                                                                                                                   =      < 2)
                                                                                                                                                               '-‘
                                                                                                                                                                             0=                  m
                                                                                                                                                   cf) co
                                                                                                                                                       z a F„D+ (3.- °
                                                                                                                                                   — ,., cp , _. -,
                                                                                                                                                                                   a             -~
                                                                                                                                                                                                 Cn
                                                                                                                                                   z- Li-
                                                                                                                                                   co     .. 0 cy E:_, c3-0W.
                                                                                                                                                   " I ...la 0 k<   a)
                                                                                                                                                   2) 0- 3 5         p ,O =                      m
                                                                                                                                                   0. o                                          a
                                                                                                                                                   am Cs CD —4 a_
                                                                                                                                                   -is (/)
                                                                                                                                                   cc• z- Eh    cn z- o
                                                                                                                                                                        a) 0,
                                                                                                                                                                        c w                      =
                                                                                                                                                   u)        = El-) crs                          o.    •
                                                                                                                                                   ci) 2)
                                                                                                                                                       < O- P4- () FL)- FI3                      m
                                                                                                                                                   0 (D S I D m   Z 5" o
                                                                                                                                                                     =
                                                                                                                                                   z ci) co '4.
                                                                                                                                                  m    O -Pi R- cn—I w a)                        0
                                                                                                                                                  ..., 2 -%o cw       a) a)
                                                                                                                                                                                                 C
                                                                                                                                                  Cn ei p-i- co -cs                              CD
                                                                                                                                                  co             -% 6 tcp
                                                                                                                                                          zul z- O
                                                                                                                                                   -is    m              m.                      (/)
                                                                                                                                                  a)          5 CC2  CD co
                                                                                                                                                    =     G)     -%
                                                                                                                                                              z m cii), 6 a)                     0
                                                                                                                                  1               ,.cna       rn cn z -1 73                      =
61.0199t7S000VO




                  i(\ 0                                                                                                                                       —I 41 ,,,
                                                                                                                                                                    --.   —.
                                                                                                                                                              CI) r+ w,
                                                                                                                                  •0                               M
                  irn
Page 27 of 28
Filed 10/21/23




                                                                                                                                o
Document 395-125




                                                                                                       Ô.
Case 1:16-cv-03088-ELR




                                                                                                                                          1-0
                                                                                                                                                    0
                         Richard Woods, Georgia's School Superintendent I Georgia Departmentof Education I Educating Georgia's Future
                                                                                                                                        OZ019StS000V Ð
 Case 1:16-cv-03088-ELR   Document 395-125   Filed 10/21/23   Page 28 of 28




Document Produced in Native Format




                                                                          GA00054568
